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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

  IN RE:                                                §   CASE NO. 25-30155
                                                        §
  ALLIANCE FARM AND RANCH, LLC,                         §   (CHAPTER 11)
                                                        §
            DEBTOR                                      §
                                                        §
  IN RE:                                                §   CASE NO. 25-31937
                                                        §
  ALLIANCE ENERGY PARTNERS,                             §   (CHAPTER 11)
  LLC,                                                  §
                                                        §
            DEBTOR                                      §

                              WITNESS AND EXHIBIT LIST
                        FOR EMERGENCY HEARING ON JUNE 25, 2025

       Tom A. Howley Chapter 11 Trustee (the “Trustee”) in the above-captioned chapter 11 cases

files this witness and exhibit list (the “Witness and Exhibit List”) for the telephone and video

only hearing scheduled for June 25, 2025 at 12:00 p.m. (CT) (the “Hearing”) before the

Honorable Alfredo R. Perez, United States Bankruptcy Judge.

                                             WITNESSES

                 The Trustee may call the following witnesses at the Hearing:

       1.        Tom A. Howley, Chapter 11 Trustee.

       2.        Any witness listed by any other party.

       3.        Rebuttal witnesses as necessary.

       The Trustee further reserves the right to cross-examine any witness called by any other party.

                                              EXHIBITS

       Exhibit Description                                  Offered    Objection Admitted
             1      Trustee’s Emergency Motion for
                    Order (I) Setting the General Claims
                    Bar Date for Filing Proofs of Claim,
                    (II) Approving the Form and
                    Manner of Notice of Bar Date and


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     Exhibit Description                                Offered      Objection Admitted
               (III) Granting Related Relief
               [Docket No 141]
        2      Revised Notice of General Bar Date
        3      Redline Notice of General Bar Date
               to Original [Docket No. 141-1]
        4      Revised Proposed Order (I) Setting
               the General Claims Bar Date for
               Filing Proofs of Claim, (II)
               Approving the Form and Manner of
               Notice of Bar Date and (III)
               Granting Related Relief
        5      Redline Proposed Order (I) Setting
               the General Claims Bar Date for
               Filing Proofs of Claim, (II)
               Approving the Form and Manner of
               Notice of Bar Date and (III)
               Granting Related Relief [Docket No.
               141-2]
               Any document or pleading filed in
               the above-captioned cases
               Any exhibit necessary for cross-
               examination, impeachment and/or
               rebuttal purposes
               Any exhibit identified or offered by
               any other party

                               RESERVATION OF RIGHTS

    The Trustee reserves the right to call or to introduce one or more, or none, of the witnesses and

exhibits listed above, and further reserves the right to supplement this Witness and Exhibit List at

any time prior to or during the hearing.

Dated: June 24, 2025                       Respectfully submitted,
       Houston, Texas
                                           /s/ Eric Terry
                                           Eric Terry - Texas Bar No. 00794729
                                           HOWLEY LAW PLLC
                                           700 Louisiana St., Suite 4545
                                           Houston, Texas 77002
                                           Telephone: 713-333-9125
                                           Email: eric@howley-law.com

                                           Proposed Counsel for Tom A. Howley - Trustee
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                                 CERTIFICATE OF SERVICE

       This is to certify that on June 24, 2025, a true and correct copy of the foregoing Motion was
served via the Court's CM/ECF notification system.

                                            /s/ Eric Terry
                                            Eric Terry




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